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                                                                          APPEAL,TYPE−D
                             U.S. District Court
                  District of Columbia (Washington, DC)
             CIVIL DOCKET FOR CASE #: 1:25−cv−00677−DLF
                              Internal Use Only

CENTRO DE TRABAJADORES UNIDOS et al v. BESSENT     Date Filed: 03/07/2025
et al                                              Jury Demand: None
Assigned to: Judge Dabney L. Friedrich             Nature of Suit: 899 Administrative
Cause: 05:0706 Judicial Review of Agency Actions   Procedure Act/Review or Appeal of
                                                   Agency Decision
                                                   Jurisdiction: U.S. Government Defendant
Plaintiff
CENTRO DE TRABAJADORES                represented by Alan Butler Morrison
UNIDOS                                               GEORGE WASHINGTON UNIVERSITY
                                                     LAW SCHOOL
                                                     2000 H Street NW
                                                     Washington, DC 20052
                                                     202−994−7120
                                                     Email: abmorrison@law.gwu.edu
                                                     ATTORNEY TO BE NOTICED

                                                   Kevin Herrera
                                                   RAISE THE FLOOR ALLIANCE
                                                   1 N LaSalle
                                                   Suite 1275
                                                   Chicago, IL 60602
                                                   312−795−9115
                                                   Email: kherrera@raisetheflooralliance.org
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

                                                   Mark Haile Birhanu
                                                   RAISE THE FLOOR ALLIANCE
                                                   Legal Department
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                                                   Suite 1275
                                                   Chicago, IL 60602
                                                   312−795−9115
                                                   Email: mbirhanu@raisetheflooralliance.org
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

                                                   Michael T. Kirkpatrick
                                                   PUBLIC CITIZEN LITIGATION GROUP
                                                   1600 20th Street, NW
                                                   Washington, DC 20009
                                                   (202) 588−7728
                                                   Fax: (202) 588−7795


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                                                 Email: mkirkpatrick@citizen.org
                                                 ATTORNEY TO BE NOTICED

                                                 Nandan M. Joshi
                                                 PUBLIC CITIZEN
                                                 Litigation Group
                                                 1600 20th Street, NW
                                                 Washington, DC 20009
                                                 (202) 588−7733
                                                 Email: njoshi@citizen.org
                                                 ATTORNEY TO BE NOTICED

Plaintiff
IMMIGRANT SOLIDARITY                represented by Alan Butler Morrison
DUPAGE                                             (See above for address)
                                                   ATTORNEY TO BE NOTICED

                                                 Kevin Herrera
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Mark Haile Birhanu
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Michael T. Kirkpatrick
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Nandan M. Joshi
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

Plaintiff
SOMOS UN PUEBLO UNIDO               represented by Alan Butler Morrison
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED

                                                 Kevin Herrera
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Mark Haile Birhanu
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Michael T. Kirkpatrick


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                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Nandan M. Joshi
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

Plaintiff
INCLUSIVE ACTION FOR THE                    represented by Alan Butler Morrison
CITY                                                       (See above for address)
                                                           ATTORNEY TO BE NOTICED

                                                          Kevin Herrera
                                                          (See above for address)
                                                          PRO HAC VICE
                                                          ATTORNEY TO BE NOTICED

                                                          Mark Haile Birhanu
                                                          (See above for address)
                                                          PRO HAC VICE
                                                          ATTORNEY TO BE NOTICED

                                                          Michael T. Kirkpatrick
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Nandan M. Joshi
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED


V.
Defendant
SCOTT BESSENT                               represented by Joseph A. Sergi
in his capacity as Secretary of the                        U.S. DEPARTMENT OF JUSTICE
Treasury                                                   555 4th Street, NW
                                                           Suite 7207
                                                           Washington, DC 20001
                                                           (202) 305−0868
                                                           Fax: 202−331−2032
                                                           Email: joseph.a.sergi@usdoj.gov
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                          Andrew Joseph Weisberg
                                                          DOJ−Tax
                                                          P.O. Box 14198
                                                          Ben Franklin Station
                                                          Washington, DC 20044
                                                          202−616−3884
                                                          Email: andrew.j.weisberg@usdoj.gov

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                                                                ATTORNEY TO BE NOTICED

Defendant
INTERNAL REVENUE SERVICE                         represented by Joseph A. Sergi
                                                                (See above for address)
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

                                                                Andrew Joseph Weisberg
                                                                (See above for address)
                                                                ATTORNEY TO BE NOTICED

Defendant
MELANIE KRAUSE                                   represented by Joseph A. Sergi
in her capacity as acting Commissioner                          (See above for address)
of Internal Revenue                                             LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

                                                                Andrew Joseph Weisberg
                                                                (See above for address)
                                                                ATTORNEY TO BE NOTICED

Defendant
KRISTI NOEM                                      represented by Joseph A. Sergi
in her official capacity of Secretary of                        U.S. DEPARTMENT OF JUSTICE
Homeland Security                                               Tax Division
                                                                555 4th Street, NW
                                                                Suite 7207
                                                                Washington, DC 20001
                                                                (202) 305−0868
                                                                Fax: 202−331−2032
                                                                Email: joseph.a.sergi@usdoj.gov
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

                                                                Andrew Joseph Weisberg
                                                                DOJ−Tax
                                                                Tax Division, Civil Trial Section, Southern
                                                                Region
                                                                P.O. Box 14198
                                                                Ben Franklin Station
                                                                Washington, DC 20044
                                                                202−616−3884
                                                                Email: andrew.j.weisberg@usdoj.gov
                                                                ATTORNEY TO BE NOTICED

Defendant
TODD LYONS                                       represented by Joseph A. Sergi
in his official capacity as acting Director                     (See above for address)
of ICE                                                          LEAD ATTORNEY


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                                                 ATTORNEY TO BE NOTICED

                                                 Andrew Joseph Weisberg
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

Defendant
DEPARTMENT OF HOMELAND             represented by Joseph A. Sergi
SECURITY                                          (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                                 Andrew Joseph Weisberg
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

Defendant
U.S. IMMIGRATION AND CUSTOM        represented by Joseph A. Sergi
ENFORCEMENT                                       (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                                 Andrew Joseph Weisberg
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

Movant
AMERICAN OVERSIGHT                 represented by Daniel Havlir Martinez
                                                  AMERICAN OVERSIGHT
                                                  1030 15th Street, NW
                                                  Suite B255
                                                  Washington, DC 20005
                                                  202−897−2465
                                                  Email: danny.martinez@americanoversight.org
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                                 Loree Stark
                                                 AMERICAN OVERSIGHT
                                                 1030 15th Street NW
                                                 Suite B255
                                                 Washington, DC 20005
                                                 914−393−4614
                                                 Email: loree.stark@americanoversight.org
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

Amicus
CAMBRIDGE ECONOMIC                 represented by Joshua A. Rosenthal
OPPORTUNITY COMMITTEE                             ASIAN LAW CAUCUS


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                                                             55 Columbus Ave
                                                             San Francisco, CA 94111
                                                             330−607−0730
                                                             Email: joshr@asianlawcaucus.org
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

Amicus
COMMUNITY ECONOMIC                           represented by Joshua A. Rosenthal
DEVELOPMENT CENTER OF                                       (See above for address)
SOUTHEASTERN                                                LEAD ATTORNEY
MASSACHUSETTS                                               ATTORNEY TO BE NOTICED

Amicus
MEMBERS OF CONGRESS                          represented by Leah Marie Nicholls
                                                            PUBLIC JUSTICE, P.C.
                                                            1620 L Street NW
                                                            Suite 630
                                                            Washington, DC 20036
                                                            202−797−8600
                                                            Email: lnicholls@publicjustice.net
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED


Date Filed   #   Docket Text
03/07/2025   1   COMPLAINT against All Plaintiffs /Defendants ( Filing fee $ 405 receipt number
                 ADCDC−11525781) filed by CENTRO DE TRABAJADORES UNIDOS,
                 IMMIGRANT SOLIDARITY DUPAGE. (Attachments: # 1 Civil Cover Sheet, # 2
                 Summons USA, # 3 Summons AG, # 4 Summons Bessent, # 5 Summons IRS, # 6
                 Summons Krause)(Joshi, Nandan) (Entered: 03/07/2025)
03/07/2025   2   NOTICE of Appearance by Michael T. Kirkpatrick on behalf of All Plaintiffs
                 (Kirkpatrick, Michael) (Entered: 03/07/2025)
03/07/2025   3   LCvR 26.1 CERTIFICATE OF DISCLOSURE of Corporate Affiliations and Financial
                 Interests by CENTRO DE TRABAJADORES UNIDOS (Joshi, Nandan) (Entered:
                 03/07/2025)
03/07/2025   4   LCvR 26.1 CERTIFICATE OF DISCLOSURE of Corporate Affiliations and Financial
                 Interests by IMMIGRANT SOLIDARITY DUPAGE (Joshi, Nandan) (Entered:
                 03/07/2025)
03/07/2025       Case Assigned to Judge Dabney L. Friedrich. (zmtm) (Entered: 03/07/2025)
03/07/2025   5   SUMMONS (5) Issued Electronically as to All Defendants, U.S. Attorney and U.S.
                 Attorney General (Attachments: # 1 Notice and Consent)(zmtm) (Entered: 03/07/2025)
03/07/2025   6   STANDARD ORDER in Civil Cases. See text for details. Signed by Judge Dabney L.
                 Friedrich on March 7, 2025 (lcdlf3) (Entered: 03/07/2025)
03/07/2025       MINUTE ORDER. In this action, the plaintiffs allege, among other things, that the
                 Administration is violating the Administrative Procedure Act by directing the IRS to


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                  share confidential taxpayer data with DHS for purposes of immigration enforcement.
                  See Compl. generally. They further allege that absent intervention by this Court, they
                  will suffer material, irreparable harm. Id. at para. 33. If the plaintiffs intend to seek
                  emergency relief, they shall promptly (1) notify the Court and the defendants and (2)
                  consult with the defendants to propose a briefing schedule. So Ordered by Judge
                  Dabney L. Friedrich on March 7, 2025 (lcdlf3). (lcch) (Entered: 03/07/2025)
03/11/2025    7   STATUS REPORT by CENTRO DE TRABAJADORES UNIDOS, IMMIGRANT
                  SOLIDARITY DUPAGE. (Joshi, Nandan) (Entered: 03/11/2025)
03/11/2025    8   NOTICE of Appearance by Joseph A. Sergi on behalf of All Defendants (Sergi,
                  Joseph) (Entered: 03/11/2025)
03/11/2025    9   NOTICE of Appearance by Andrew Joseph Weisberg on behalf of All Defendants
                  (Weisberg, Andrew) (Entered: 03/11/2025)
03/11/2025        MINUTE ORDER. Upon consideration of the plaintiff's 7 Status Report, the plaintiff
                  shall file another status report on or before March 12, 2025. So Ordered by Judge
                  Dabney L. Friedrich on March 11, 2025 (lcdlf3) (Entered: 03/11/2025)
03/12/2025   10   Joint STATUS REPORT by CENTRO DE TRABAJADORES UNIDOS,
                  IMMIGRANT SOLIDARITY DUPAGE, SCOTT BESSENT, INTERNAL REVENUE
                  SERVICE, MELANIE KRAUSE. (Joshi, Nandan) (Entered: 03/12/2025)
03/13/2025        MINUTE ORDER. Consistent with the parties' 10 Joint Status Report, the parties shall
                  file a stipulated order on or before March 13, 2025, or the plaintiffs shall file a motion
                  for a temporary restraining order on or before March 14, 2025. SO Ordered by Judge
                  Dabney L. Friedrich on March 13, 2025 (lcdlf3) (Entered: 03/13/2025)
03/14/2025   11   MOTION for Temporary Restraining Order by CENTRO DE TRABAJADORES
                  UNIDOS, IMMIGRANT SOLIDARITY DUPAGE. (Attachments: # 1 Memorandum
                  in Support, # 2 Declaration CTU, # 3 Declaration ISD, # 4 Text of Proposed
                  Order)(Joshi, Nandan) (Entered: 03/14/2025)
03/14/2025        MINUTE ORDER directing the defendant to file a response to the 11 Motion for a
                  Temporary Restraining Order on or before March 17, 2025. The plaintiff's reply shall
                  be due on or before March 18, 2025. The Court will hold a hearing on March 19, 2025
                  at 2:30 p.m. in Courtroom 24A. So Ordered by Judge Dabney L. Friedrich on March
                  14, 2025 (lcdlf3) (Entered: 03/14/2025)
03/17/2025   12   RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed as to the
                  United States Attorney. Date of Service Upon United States Attorney on 3/7/2025.
                  Answer due for ALL FEDERAL DEFENDANTS by 5/6/2025. (Joshi, Nandan)
                  (Entered: 03/17/2025)
03/17/2025   13   RESPONSE re 11 MOTION for Temporary Restraining Order filed by SCOTT
                  BESSENT, INTERNAL REVENUE SERVICE, MELANIE KRAUSE. (Attachments:
                  # 1 Exhibit A − Declaration of Kathleen Walters)(Weisberg, Andrew) (Entered:
                  03/17/2025)
03/17/2025   14   MOTION to Dismiss by SCOTT BESSENT, INTERNAL REVENUE SERVICE,
                  MELANIE KRAUSE. (Attachments: # 1 Exhibit A − Declaration of Kathleen
                  Walters)(Weisberg, Andrew) (Entered: 03/17/2025)
03/18/2025   15   REPLY to opposition to motion re 11 Motion for TRO filed by CENTRO DE
                  TRABAJADORES UNIDOS, IMMIGRANT SOLIDARITY DUPAGE. (Attachments:


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                  # 1 Declaration of Jane Doe)(Kirkpatrick, Michael) (Entered: 03/18/2025)
03/19/2025        NOTICE OF COURTROOM CHANGE: The Motion Hearing set for 3/19/2025 at 2:30
                  PM will now be held in Courtroom 25A (In Person) before Judge Dabney L. Friedrich.
                  (smc) (Entered: 03/19/2025)
03/19/2025        Minute Entry for Motion Hearing held on 3/19/2025 before Judge Dabney L. Friedrich:
                  re 11 MOTION for Temporary Restraining Order. Oral Arguments heard and
                  DENIED. Plaintiff's response to 14 Motion to Dismiss due two weeks from filing date
                  of motion and Defendant's reply due one week from filing of response. Court Reporter:
                  Sara Wick. (zsmc) (Entered: 03/19/2025)
03/20/2025   16   ORDER on the 11 Motion for Temporary Restraining Order. See text for details.
                  Signed by Judge Dabney L. Friedrich on March 20, 2025 (lcdlf3) (Entered:
                  03/20/2025)
03/26/2025   17   AMENDED COMPLAINT against All Defendants filed by CENTRO DE
                  TRABAJADORES UNIDOS, IMMIGRANT SOLIDARITY DUPAGE, SOMOS UN
                  PUEBLO UNIDO, INCLUSIVE ACTION FOR THE CITY. (Attachments: # 1
                  Appendix Redlined required by standard order, # 2 Summons USAO−DC, # 3
                  Summons AG, # 4 Summons DHS, # 5 Summons Noem, # 6 Summons ICE, # 7
                  Summons Lyons)(Joshi, Nandan) (Entered: 03/26/2025)
03/26/2025   18   RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed on
                  United States Attorney General. Date of Service Upon United States Attorney General
                  3/21/2025. (Joshi, Nandan) Modified on 3/26/2025 to correct date served (zjm).
                  (Entered: 03/26/2025)
03/26/2025   19   RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed. SCOTT
                  BESSENT served on 3/21/2025 (Joshi, Nandan) Modified on 3/26/2025 to correct date
                  served (zjm). (Entered: 03/26/2025)
03/26/2025   20   RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed.
                  INTERNAL REVENUE SERVICE served on 3/20/2025 (Joshi, Nandan) Modified on
                  3/26/2025 to correct date served (zjm). (Entered: 03/26/2025)
03/26/2025   21   RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed.
                  MELANIE KRAUSE served on 3/20/2025 (Joshi, Nandan) (Entered: 03/26/2025)
03/26/2025   22   LCvR 26.1 CERTIFICATE OF DISCLOSURE of Corporate Affiliations and Financial
                  Interests by SOMOS UN PUEBLO UNIDO (Joshi, Nandan) (Entered: 03/26/2025)
03/26/2025   23   LCvR 26.1 CERTIFICATE OF DISCLOSURE of Corporate Affiliations and Financial
                  Interests by INCLUSIVE ACTION FOR THE CITY (Joshi, Nandan) (Entered:
                  03/26/2025)
03/26/2025   24   NOTICE of Appearance by Michael T. Kirkpatrick on behalf of SOMOS UN
                  PUEBLO UNIDO, INCLUSIVE ACTION FOR THE CITY (Kirkpatrick, Michael)
                  (Entered: 03/26/2025)
03/27/2025   25   NOTICE of Appearance by Alan Butler Morrison on behalf of All Plaintiffs (Morrison,
                  Alan) (Entered: 03/27/2025)
03/27/2025   26   SUMMONS (4) Issued Electronically as to DEPARTMENT OF HOMELAND
                  SECURITY, TODD LYONS, KRISTI NOEM, U.S. IMMIGRATION AND CUSTOM
                  ENFORCEMENT (mg) (Main Document 26 replaced on 3/31/2025) (mg). Modified


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                  docket text on 3/31/2025 (mg). (Entered: 03/27/2025)
03/27/2025   29   SUMMONS (2) Reissued Electronically as to U.S. Attorney and U.S. Attorney General
                  (mg) (Entered: 03/31/2025)
03/30/2025   27   RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed as to the
                  United States Attorney. Date of Service Upon United States Attorney on 3/27/2025.
                  Answer due for ALL FEDERAL DEFENDANTS by 5/26/2025. (Joshi, Nandan)
                  (Entered: 03/30/2025)
03/31/2025   28   MOTION for Preliminary Injunction by CENTRO DE TRABAJADORES UNIDOS,
                  IMMIGRANT SOLIDARITY DUPAGE, SOMOS UN PUEBLO UNIDO,
                  INCLUSIVE ACTION FOR THE CITY. (Attachments: # 1 Memorandum in Support,
                  # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, # 5 Exhibit D, # 6 Exhibit E, # 7 Exhibit F,
                  # 8 Exhibit G, # 9 Exhibit H, # 10 Exhibit I, # 11 Exhibit J, # 12 Exhibit K, # 13 Text
                  of Proposed Order)(Joshi, Nandan) (Entered: 03/31/2025)
03/31/2025        NOTICE of Hearing: Preliminary Injunction Hearing set for 4/16/2025 at 10:30 AM in
                  Courtroom 24A (In Person) before Judge Dabney L. Friedrich. (smc) (Entered:
                  03/31/2025)
04/01/2025        MINUTE ORDER directing the defendants to respond to the plaintiffs' 28 Motion for
                  Preliminary Injunction on or before April 7, 2025. The plaintiffs' reply shall be due on
                  or before April 10, 2025. So ordered by Judge Dabney L. Friedrich on April 1, 2025
                  (lcdlf3) (Entered: 04/01/2025)
04/07/2025   30   RESPONSE re 28 MOTION for Preliminary Injunction filed by SCOTT BESSENT,
                  DEPARTMENT OF HOMELAND SECURITY, INTERNAL REVENUE SERVICE,
                  TODD LYONS, MELANIE KRAUSE, KRISTI NOEM, U.S. IMMIGRATION AND
                  CUSTOM ENFORCEMENT. (Attachments: # 1 Exhibit A − Declaration of Kathleen
                  Evey Walters, # 2 Text of Proposed Order)(Weisberg, Andrew) (Entered: 04/07/2025)
04/07/2025   31   MOTION to Dismiss Amended Complaint by SCOTT BESSENT, DEPARTMENT OF
                  HOMELAND SECURITY, INTERNAL REVENUE SERVICE, TODD LYONS,
                  MELANIE KRAUSE, KRISTI NOEM, U.S. IMMIGRATION AND CUSTOM
                  ENFORCEMENT. (Attachments: # 1 Exhibit A − Declaration of Kathleen Evey
                  Walters, # 2 Text of Proposed Order)(Weisberg, Andrew) (Entered: 04/07/2025)
04/10/2025   32   REPLY to opposition to motion re 28 Motion for Preliminary Injunction, filed by
                  CENTRO DE TRABAJADORES UNIDOS, IMMIGRANT SOLIDARITY DUPAGE,
                  INCLUSIVE ACTION FOR THE CITY, SOMOS UN PUEBLO UNIDO. (Joshi,
                  Nandan) (Entered: 04/10/2025)
04/10/2025   33   MOTION to Compel Production of Unredacted Exhibit by CENTRO DE
                  TRABAJADORES UNIDOS, IMMIGRANT SOLIDARITY DUPAGE, INCLUSIVE
                  ACTION FOR THE CITY, SOMOS UN PUEBLO UNIDO. (Attachments: # 1 Text of
                  Proposed Order)(Joshi, Nandan) (Entered: 04/10/2025)
04/10/2025        MINUTE ORDER directing the defendants to respond to the plaintiff's 33 Motion to
                  Compel by 10:00 a.m. on April 14, 2025. So ordered by Judge Dabney L. Friedrich on
                  April 10, 2025 (lcdlf3) (Entered: 04/10/2025)
04/11/2025   34   TRANSCRIPT OF MOTION HEARING before Judge Dabney L. Friedrich held on
                  03/19/2025. Page Numbers: 1−37. Date of Issuance: 04/11/2025. Court Reporter: Sara
                  Wick, telephone number 202−354−3284. Transcripts may be ordered by submitting the
                  Transcript Order Form

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                  For the first 90 days after this filing date, the transcript may be viewed at the
                  courthouse at a public terminal or purchased from the court reporter referenced above.
                  After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                  (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                  NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                  days to file with the court and the court reporter any request to redact personal
                  identifiers from this transcript. If no such requests are filed, the transcript will be made
                  available to the public via PACER without redaction after 90 days. The policy, which
                  includes the five personal identifiers specifically covered, is located on our website at
                  www.dcd.uscourts.gov.

                  Redaction Request due 5/2/2025. Redacted Transcript Deadline set for 5/12/2025.
                  Release of Transcript Restriction set for 7/10/2025.(Wick, Sara) (Entered: 04/11/2025)
04/11/2025   35   RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed on
                  United States Attorney General. Date of Service Upon United States Attorney General
                  4/4/2025., RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint
                  Executed. DEPARTMENT OF HOMELAND SECURITY served on 4/3/2025; TODD
                  LYONS served on 4/3/2025; KRISTI NOEM served on 4/3/2025; U.S.
                  IMMIGRATION AND CUSTOM ENFORCEMENT served on 4/3/2025
                  (Attachments: # 1 Supplement DHS, # 2 Supplement ICE, # 3 Supplement Lyons, # 4
                  Supplement Noem)(Joshi, Nandan) (Entered: 04/11/2025)
04/14/2025   36   Unopposed MOTION for Extension of Time to File Response/Reply as to 33 MOTION
                  to Compel Production of Unredacted Exhibit by SCOTT BESSENT, DEPARTMENT
                  OF HOMELAND SECURITY, INTERNAL REVENUE SERVICE, TODD LYONS,
                  MELANIE KRAUSE, KRISTI NOEM, U.S. IMMIGRATION AND CUSTOM
                  ENFORCEMENT. (Attachments: # 1 Text of Proposed Order)(Sergi, Joseph) (Entered:
                  04/14/2025)
04/14/2025        MINUTE ORDER granting the defendants' unopposed 36 Motion for one hour
                  extension of time. So ordered by Judge Dabney L. Friedrich on April 14, 2025 (lcdlf3)
                  (Entered: 04/14/2025)
04/14/2025   37   ENTERED IN ERROR.....RESPONSE re 33 MOTION to Compel Production of
                  Unredacted Exhibit filed by SCOTT BESSENT, DEPARTMENT OF HOMELAND
                  SECURITY, INTERNAL REVENUE SERVICE, TODD LYONS, MELANIE
                  KRAUSE, KRISTI NOEM, U.S. IMMIGRATION AND CUSTOM ENFORCEMENT.
                  (Attachments: # 1 Declaration Kevin F. Coenen)(Sergi, Joseph) Modified on
                  4/14/2025; refiled as docket entry 38 (zdp). (Entered: 04/14/2025)
04/14/2025   38   RESPONSE re 33 MOTION to Compel Production of Unredacted Exhibit
                  CORRECTED TO INCLUDE MOU filed by SCOTT BESSENT, DEPARTMENT OF
                  HOMELAND SECURITY, INTERNAL REVENUE SERVICE, TODD LYONS,
                  MELANIE KRAUSE, KRISTI NOEM, U.S. IMMIGRATION AND CUSTOM
                  ENFORCEMENT. (Attachments: # 1 Declaration Kevin F. Coenen)(Sergi, Joseph)
                  (Entered: 04/14/2025)
04/14/2025        MINUTE ORDER directing the plaintiffs to file any reply to the government's 38
                  Response to the 33 Motion to Compel on or before 11:30 a.m. on April 15, 2025. So
                  ordered by Judge Dabney L. Friedrich on April 14, 2025 (lcdlf3) (Entered: 04/14/2025)
04/15/2025   39


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                  REPLY to opposition to motion re 33 Motion to Compel filed by CENTRO DE
                  TRABAJADORES UNIDOS, IMMIGRANT SOLIDARITY DUPAGE, INCLUSIVE
                  ACTION FOR THE CITY, SOMOS UN PUEBLO UNIDO. (Joshi, Nandan) (Entered:
                  04/15/2025)
04/15/2025   40   MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Kevin L. Herrera,
                  Filing fee $ 100, receipt number ADCDC−11616042. Fee Status: Fee Paid. by
                  CENTRO DE TRABAJADORES UNIDOS, IMMIGRANT SOLIDARITY DUPAGE,
                  INCLUSIVE ACTION FOR THE CITY, SOMOS UN PUEBLO UNIDO.
                  (Attachments: # 1 Declaration for Pro Hac Vice Admission, # 2 Certificate of Good
                  Standing, # 3 Text of Proposed Order)(Kirkpatrick, Michael) (Entered: 04/15/2025)
04/15/2025   41   MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Mark H. Birhanu,
                  Filing fee $ 100, receipt number ADCDC−11616094. Fee Status: Fee Paid. by
                  CENTRO DE TRABAJADORES UNIDOS, IMMIGRANT SOLIDARITY DUPAGE,
                  INCLUSIVE ACTION FOR THE CITY, SOMOS UN PUEBLO UNIDO.
                  (Attachments: # 1 Declaration for Pro Hac Vice Admission, # 2 Certificate of Good
                  Standing, # 3 Text of Proposed Order)(Kirkpatrick, Michael) (Entered: 04/15/2025)
04/15/2025        MINUTE ORDER granting the plaintiffs' 40 Motion for Leave to Appear Pro Hac Vice
                  Counsel should register for e−filing via PACER and file a notice of appearance
                  pursuant to LCvR 83.6(a) Click for instructions. So ordered by Judge Dabney L.
                  Friedrich on April 15, 2025 (lcdlf3) (Entered: 04/15/2025)
04/15/2025        MINUTE ORDER granting the plaintiffs' 41 Motion for Leave to Appear Pro Hac Vice
                  Counsel should register for e−filing via PACER and file a notice of appearance
                  pursuant to LCvR 83.6(a) Click for instructions. So ordered by Judge Dabney L.
                  Friedrich on April 15, 2025 (lcdlf3) (Entered: 04/15/2025)
04/15/2025   42   NOTICE of Appearance by Kevin Herrera on behalf of All Plaintiffs (Herrera, Kevin)
                  (Entered: 04/15/2025)
04/16/2025        Minute Entry for Preliminary Injunction Hearing held on 4/16/2025 before Judge
                  Dabney L. Friedrich: Oral arguments heard on Plaintiffs' 28 Motion for Preliminary
                  Injunction and TAKEN UNDER ADVISEMENT. Plaintiffs' Supplemental Materials
                  due 4/23/2025. Defendants' Response due 4/28/2025. Court Reporter: Sara Wick. (zljn)
                  (Entered: 04/16/2025)
04/21/2025   43   NOTICE of Appearance by Mark Haile Birhanu on behalf of All Plaintiffs (Birhanu,
                  Mark) (Entered: 04/21/2025)
04/21/2025   44   Joint MOTION for Protective Order by SCOTT BESSENT, DEPARTMENT OF
                  HOMELAND SECURITY, INTERNAL REVENUE SERVICE, TODD LYONS,
                  MELANIE KRAUSE, KRISTI NOEM, U.S. IMMIGRATION AND CUSTOM
                  ENFORCEMENT. (Attachments: # 1 Text of Proposed Order)(Weisberg, Andrew)
                  (Entered: 04/21/2025)
04/21/2025   45   Memorandum in opposition to re 31 Motion to Dismiss, filed by CENTRO DE
                  TRABAJADORES UNIDOS, IMMIGRANT SOLIDARITY DUPAGE, INCLUSIVE
                  ACTION FOR THE CITY, SOMOS UN PUEBLO UNIDO. (Kirkpatrick, Michael)
                  (Entered: 04/21/2025)
04/21/2025   46   ORDER granting the parties' 44 Joint Motion for Protective Order. See text for details.
                  Signed by Judge Dabney L. Friedrich on April 21, 2025 (lcdlf3) (Main Document 46
                  replaced on 4/22/2025) (zsmc). (Entered: 04/21/2025)


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04/23/2025   47   SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL filed by
                  CENTRO DE TRABAJADORES UNIDOS, IMMIGRANT SOLIDARITY DUPAGE,
                  INCLUSIVE ACTION FOR THE CITY, SOMOS UN PUEBLO UNIDO (This
                  document is SEALED and only available to authorized persons.) (Attachments: # 1
                  Exhibit, # 2 Text of Proposed Order)(Joshi, Nandan) (Entered: 04/23/2025)
04/23/2025   48   SUPPLEMENTAL MEMORANDUM to re 28 MOTION for Preliminary Injunction
                  REDACTED filed by CENTRO DE TRABAJADORES UNIDOS, IMMIGRANT
                  SOLIDARITY DUPAGE, INCLUSIVE ACTION FOR THE CITY, SOMOS UN
                  PUEBLO UNIDO. (Joshi, Nandan) (Entered: 04/23/2025)
04/28/2025   49   REPLY to opposition to motion re 31 Motion to Dismiss, filed by SCOTT BESSENT,
                  DEPARTMENT OF HOMELAND SECURITY, INTERNAL REVENUE SERVICE,
                  TODD LYONS, MELANIE KRAUSE, KRISTI NOEM, U.S. IMMIGRATION AND
                  CUSTOM ENFORCEMENT. (Attachments: # 1 Exhibit A − Declaration of John J.
                  Walker)(Weisberg, Andrew) (Entered: 04/28/2025)
04/28/2025   50   SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL filed by
                  SCOTT BESSENT, DEPARTMENT OF HOMELAND SECURITY, INTERNAL
                  REVENUE SERVICE, TODD LYONS, MELANIE KRAUSE, KRISTI NOEM, U.S.
                  IMMIGRATION AND CUSTOM ENFORCEMENT (This document is SEALED and
                  only available to authorized persons.) (Attachments: # 1 Exhibit A − United States'
                  Response to Plaintiffs' Supplemental Brief, # 2 Text of Proposed Order)(Weisberg,
                  Andrew) (Entered: 04/28/2025)
04/29/2025        MINUTE ORDER granting the parties' 47 50 Motion for Leave to File under Seal. The
                  plaintiffs' [47−1] Memorandum and the United States' [50−1] Response shall remain
                  under seal. So ordered by Judge Dabney L. Friedrich on April 29, 2025 (lcdlf3)
                  (Entered: 04/29/2025)
04/29/2025   51   SEALED SUPPLEMENTAL MEMORANDUM filed by CENTRO DE
                  TRABAJADORES UNIDOS, IMMIGRANT SOLIDARITY DUPAGE, INCLUSIVE
                  ACTION FOR THE CITY, SOMOS UN PUEBLO UNIDO. re 28 Motion for
                  Preliminary Injunction,. (This document is SEALED and only available to authorized
                  persons.)(zdp) (Entered: 04/29/2025)
04/29/2025   52   SEALED RESPONSE filed by SCOTT BESSENT, DEPARTMENT OF
                  HOMELAND SECURITY, INTERNAL REVENUE SERVICE, TODD LYONS,
                  MELANIE KRAUSE, KRISTI NOEM, U.S. IMMIGRATION AND CUSTOM
                  ENFORCEMENT. re 51 Sealed Document,. (This document is SEALED and only
                  available to authorized persons.)(zdp) (Entered: 04/29/2025)
04/29/2025   53   Unopposed MOTION for Leave to File Amicus Brief by CAMBRIDGE ECONOMIC
                  OPPORTUNITY COMMITTEE, COMMUNITY ECONOMIC DEVELOPMENT
                  CENTER OF SOUTHEASTERN MASSACHUSETTS. (Attachments: # 1 Exhibit
                  Proposed Amicus Brief)(Rosenthal, Joshua) (Entered: 04/29/2025)
04/29/2025   54   NOTICE of Appearance by Leah Marie Nicholls on behalf of MEMBERS OF
                  CONGRESS (Nicholls, Leah) (Entered: 04/29/2025)
04/29/2025   55   Consent MOTION for Leave to File Amicus Brief by MEMBERS OF CONGRESS.
                  (Nicholls, Leah) (Entered: 04/29/2025)
04/30/2025   56   NOTICE of Appearance by Joshua A. Rosenthal on behalf of CAMBRIDGE
                  ECONOMIC OPPORTUNITY COMMITTEE, COMMUNITY ECONOMIC


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                  DEVELOPMENT CENTER OF SOUTHEASTERN MASSACHUSETTS (Rosenthal,
                  Joshua) (Main Document 56 replaced on 4/30/2025) (zdp). (Entered: 04/30/2025)
04/30/2025        MINUTE ORDER granting the unopposed 53 Motion for Leave to File Amicus Brief.
                  The Clerk of Court is directed to file the [53−1] Amicus Brief on the docket. So
                  Ordered by Judge Dabney L. Friedrich on April 30, 2025 (lcdlf3) (Entered:
                  04/30/2025)
04/30/2025        MINUTE ORDER granting the consent 55 Motion for Leave to File Amicus Brief. The
                  Clerk of Court is directed to file the 55 Amicus Brief on the docket. So Ordered by
                  Judge Dabney L. Friedrich on April 30, 2025 (lcdlf3) (Entered: 04/30/2025)
04/30/2025   57   AMICUS BRIEF by CAMBRIDGE ECONOMIC OPPORTUNITY COMMITTEE,
                  COMMUNITY ECONOMIC DEVELOPMENT CENTER OF SOUTHEASTERN
                  MASSACHUSETTS. (zdp) (Entered: 04/30/2025)
04/30/2025   58   AMICUS BRIEF by MEMBERS OF CONGRESS. (zdp) (Entered: 04/30/2025)
05/01/2025   59   MOTION to Intervene for Access to Judicial Documents by AMERICAN
                  OVERSIGHT. (Attachments: # 1 Memorandum in Support, # 2 Declaration Ex. A to
                  Memo, # 3 7.1 Certificate of Corporate Disclosure)(Martinez, Daniel) (Entered:
                  05/01/2025)
05/01/2025        MINUTE ORDER. In its April 29, 2025 Minute Order granting the parties' motions for
                  leave to file under seal, the Court inadvertently neglected to instruct the defendants to
                  file a redacted version of their brief on the docket. Accordingly, the defendants shall
                  file a redacted version of their [50−1] Response to Plaintiffs' Supplemental Brief by the
                  end of today, May 1, 2025. It is further ORDERED that the parties shall respond to the
                  59 Motion to Intervene on or before May 5, 2025. So ordered by Judge Dabney L.
                  Friedrich on May 1, 2025 (lcdlf3) (Entered: 05/01/2025)
05/01/2025   60   RESPONSE re 48 Supplemental Memorandum Redacted filed by SCOTT BESSENT,
                  DEPARTMENT OF HOMELAND SECURITY, INTERNAL REVENUE SERVICE,
                  TODD LYONS, MELANIE KRAUSE, KRISTI NOEM, U.S. IMMIGRATION AND
                  CUSTOM ENFORCEMENT. (Weisberg, Andrew) Modified docket text on 5/2/2025
                  (zdp). (Entered: 05/01/2025)
05/05/2025   61   RESPONSE re 59 MOTION to Intervene for Access to Judicial Documents filed by
                  CENTRO DE TRABAJADORES UNIDOS, IMMIGRANT SOLIDARITY DUPAGE,
                  INCLUSIVE ACTION FOR THE CITY, SOMOS UN PUEBLO UNIDO. (Joshi,
                  Nandan) (Entered: 05/05/2025)
05/05/2025   62   NOTICE of Appearance by Loree Stark on behalf of AMERICAN OVERSIGHT
                  (Stark, Loree) (Entered: 05/05/2025)
05/05/2025   63   RESPONSE re 59 MOTION to Intervene for Access to Judicial Documents filed by
                  SCOTT BESSENT, DEPARTMENT OF HOMELAND SECURITY, INTERNAL
                  REVENUE SERVICE, TODD LYONS, MELANIE KRAUSE, KRISTI NOEM, U.S.
                  IMMIGRATION AND CUSTOM ENFORCEMENT. (Weisberg, Andrew) (Entered:
                  05/05/2025)
05/06/2025   64   MOTION for Leave to File Reply by AMERICAN OVERSIGHT. (Attachments: # 1
                  Text of Proposed Order Proposed Order)(Stark, Loree) (Entered: 05/06/2025)
05/06/2025        MINUTE ORDER granting the 64 Motion for Leave to File Reply. American
                  Oversight shall file its reply on or before 2:00 p.m. on May 7, 2025. So ordered by


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                  Judge Dabney L. Friedrich on May 6, 2025 (lcdlf3) (Entered: 05/06/2025)
05/07/2025   65   REPLY to opposition to motion re 59 Motion to Intervene for Access to Judicial
                  Documents filed by AMERICAN OVERSIGHT. (Attachments: # 1 Text of Proposed
                  Order)(Martinez, Daniel) (Entered: 05/07/2025)
05/07/2025   66   RESPONSE re 57 Amicus Brief, 58 Amicus Brief filed by SCOTT BESSENT,
                  DEPARTMENT OF HOMELAND SECURITY, INTERNAL REVENUE SERVICE,
                  TODD LYONS, MELANIE KRAUSE, KRISTI NOEM, U.S. IMMIGRATION AND
                  CUSTOM ENFORCEMENT. (Weisberg, Andrew) (Entered: 05/07/2025)
05/12/2025        MINUTE ORDER. Upon consideration of American Oversight's 59 Motion to
                  Intervene, and the parties' responses, see 63 (objecting to unsealing) and 61 (agreeing
                  with American Oversight that the Memorandum of Understanding and the briefs
                  should be unsealed), the Court will order that the Memorandum of Understanding
                  (MOU) at issue be almost entirely unsealed and that the related briefs be unsealed in
                  full.

                  There is a "strong presumption in favor of public access to judicial proceedings."
                  United States v. Hubbard, 650 F.2d 293, 317 (D.C. Cir. 1980), and the six Hubbard
                  factors must "guide the inquiry into whether the presumption is overcome." Abdelhady
                  v. George Wash. Univ., 89 F.4th 955, 958 (D.C. Cir. 2024). Those factors, as outlined
                  by the D.C. Circuit, are: "(1) the need for public access to the documents at issue; (2)
                  the extent of previous public access to the documents; (3) the fact that someone has
                  objected to disclosure, and the identity of that person; (4) the strength of any property
                  and privacy interests asserted; (5) the possibility of prejudice to those opposing
                  disclosure; and (6) the purposes for which the documents were introduced during the
                  judicial proceedings." In re Leopold, 964 F.3d 1121, 1131 (D.C. Cir. 2020) (cleaned
                  up).

                  Applying the Hubbard factors here, the Court concludes that the balance of the interests
                  favors disclosure of the briefs and virtually all of the MOU. The MOU is a central
                  focus of this litigation, and the information contained in the redacted MOU has been
                  widely discussed, including on the record in open court at the April 16, 2025
                  preliminary injunction motion hearing. Although the government objects to its full
                  disclosure, it has not asserted a compelling interest or high risk of prejudice with
                  disclosure of the MOU and briefs. The public need for access is high given that the
                  MOU's content is essential to the claims raised by the plaintiffs and the Court's
                  reasoning in its forthcoming opinion on the 28 Motion for a Preliminary Injunction.
                  The Court will not order, however, that the IRS "points of contact" on page 13 of the
                  MOU be unsealed. With respect to those lower level government employees, the Court
                  concludes that their personal privacy interests outweigh any public need to access their
                  names and contact information. See Common Cause v. NRC, 674 F.2d 921, 938 (D.C.
                  Cir. 1982).

                  Given that the Court has largely granted the unsealing request of American Oversight
                  and the plaintiff's 61 response, the Court DENIES American Oversight's 59 Motion to
                  Intervene. It is further ORDERED that (1) the Clerk of Court shall unseal the following
                  briefs: 51 52 ; (2) the defendants shall file on the public docket, on or before May 13,
                  2025 a less redacted version of the [31−1] Memorandum of Understanding, consistent
                  with the Court's above instructions. So ordered by Judge Dabney L. Friedrich on May
                  12, 2025 (lcdlf3) (Entered: 05/12/2025)



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05/12/2025   67   MEMORANDUM OPINION AND ORDER denying the plaintiffs' 28 Motion for
                  Preliminary Injunction. See text for details. Signed by Judge Dabney L. Friedrich on
                  May 12, 2025 (lcdlf3) (Entered: 05/12/2025)
05/13/2025   68   NOTICE of Filing of MOU by SCOTT BESSENT, DEPARTMENT OF HOMELAND
                  SECURITY, INTERNAL REVENUE SERVICE, TODD LYONS, MELANIE
                  KRAUSE, KRISTI NOEM, U.S. IMMIGRATION AND CUSTOM ENFORCEMENT
                  re Order on Motion to Intervene,,,,,,,,,,,, (Attachments: # 1 Exhibit A − MOU Between
                  Treasury and DHS dated April 7, 2025)(Weisberg, Andrew) (Entered: 05/13/2025)
05/14/2025        ENTERED IN ERROR.....MINUTE ORDER. Upon consideration of the parties' 18
                  Joint Status Report, it is ORDERED that the parties shall file another joint status report
                  on or before June 12, 2025. It is further ORDERED that all deadlines continued to be
                  stayed. So ordered by Judge Dabney L. Friedrich on May 14, 2025 (lcdlf3) Modified
                  on 5/14/2025 (zsmc). (Entered: 05/14/2025)
05/21/2025   69   NOTICE OF APPEAL TO DC CIRCUIT COURT as to 67 Order on Motion for
                  Preliminary Injunction by CENTRO DE TRABAJADORES UNIDOS, IMMIGRANT
                  SOLIDARITY DUPAGE, INCLUSIVE ACTION FOR THE CITY, SOMOS UN
                  PUEBLO UNIDO. Filing fee $ 605, receipt number ADCDC−11704864. Fee Status:
                  Fee Paid. Parties have been notified. (Joshi, Nandan) (Entered: 05/21/2025)




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 Centro de Trabajadores Unidos, et al.,

            Plaintiffs,

              v.
                                                  Civil Action No. 25-677 (DLF)
 Scott Bessent, in his official capacity as
 Secretary of the Treasury, et al.,

            Defendants.


                                      NOTICE OF APPEAL

       Notice is hereby given that all Plaintiffs appeal to the United States Court of Appeals for

the District of Columbia Circuit from this Court’s Memorandum Opinion and Order denying

Plaintiffs’ Motion for Preliminary Injunction, entered in this action on May 12, 2025 (Dkt. 67).


Dated: May 21, 2025                                     Respectfully submitted,

                                                        /s/ Nandan M. Joshi
 Kevin L. Herrera                                       Nandan M. Joshi
  (admitted pro hac vice)                                 (DC Bar No. 456750)
 Mark H. Birhanu                                        Michael T. Kirkpatrick
  (admitted pro hac vice)                                 (DC Bar No. 486293)
 Raise the Floor Alliance                               Public Citizen Litigation Group
 1 N. LaSalle Street, Suite 1275                        1600 20th Street, NW
 Chicago, Illinois 60602                                Washington, DC 20009
 (312) 795-9115                                         (202) 588-7733
 kherrera@raisetheflooralliance.org                     njoshi@citizen.org

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                                                          (DC Bar No. 073114)
                                                        George Washington Law School
                                                        2000 H Street, NW
                                                        Washington, DC 20052
                                                        (202) 994-7120
                                                        abmorrison@law.gwu.edu

                                       Counsel for Plaintiffs




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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 CENTRO DE TRABAJADORES UNIDOS,
 et al.,

                Plaintiffs,
                                                           No. 25-cv-0677 (DLF)
        v.

 SCOTT BESSENT, et al.,

                 Defendants.


                              MEMORANDUM OPINION & ORDER

       Plaintiffs Centro de Trabajadores Unidos, Immigrant Solidarity DuPage, Somos Un Pueblo

Unido, and Inclusive Action for the City bring this action seeking declaratory and injunctive relief

to prevent the Internal Revenue Service (IRS) from sharing personal tax information with the

Department of Homeland Security (DHS) for immigration enforcement purposes. Before the

Court is the plaintiffs’ Motion for Preliminary Injunction, Dkt. 28. For the reasons that follow, the

Court will deny the motion.

I.     BACKGROUND

       The Internal Revenue Code requires taxes to be paid on all income earned in the United

States, regardless of the earner’s status in the country. Am. Compl. ¶ 39, Dkt. 17. United States

citizens file taxes using a Social Security Number. Id. ¶ 40. Noncitizens generally cannot obtain

SSNs, so they typically register with the IRS to obtain an Individual Taxpayer Identification

Number (ITIN). Id. ¶ 41. To do so, registrants must provide their full name, address, and other

identifying information. Id. Under the tax code, those records are kept confidential and may not

be shared outside the IRS, unless a particular statutory exception applies. 26 U.S.C. § 6103(a).




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As relevant here, one such exception, § 6103(i)(2), allows the head of any federal agency to request

tax return information to aid in investigating or preparing for a judicial or administrative

proceeding to enforce designated criminal statutes. Id. § 6103(i)(2); Am. Compl. ¶ 48. The agency

head must first submit the request in writing and must specifically identify the name and address

of the taxpayer, the relevant taxable periods, the statutory basis for the enforcement proceeding,

and the need for the disclosure. 26 U.S.C. § 6103(i)(2)(B).

       The plaintiffs allege that DHS is seeking access to taxpayer information to identify, locate

and remove illegal immigrants, in violation of § 6103. Am. Compl. ¶ 35. In support, the plaintiffs

point to newspaper articles reporting that DHS requested that the IRS provide identifying records

for at least 700,000 illegal immigrants. Id. ¶ 36. As alleged, that request was denied. Id. ¶ 37.

But according to certain media outlets and other unnamed IRS sources, the acting IRS

commissioner is “negotiating an agreement” with DHS and is “reportedly close to terms.” Id.

Under the terms of this agreement, as alleged, the IRS would unlawfully provide address

information so that DHS can locate illegal immigrants for civil enforcement proceedings. Am.

Compl. ¶ 55.

       On April 7, 2025, the defendant agencies entered into a Memorandum of Understanding,

Dkt. 38-1, which sets forth a process for exchanging information under 26 U.S.C. § 6103(i)(2).

As the Memorandum provides, its purpose is to establish procedures enabling “requests for

addresses of persons subject to criminal investigation.” Id. § 3 (emphasis added). Consistent with

§ 6103(i)(2), the head of DHS must first submit a written request to the IRS that satisfies the

statutory requirements necessary for disclosure, and only then can the IRS provide DHS with

certain tax return information. Memorandum § 5(B) (requiring the IRS to “[r]eview each request




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for completeness and validity and return to ICE any requests not meeting the requirements

necessary for disclosure pursuant to IRC § 6103(i)(2)”).

       The plaintiffs are four nonprofit organizations representing the interests of immigrants.

Centro de Trabajadores Unidos (Centro) and Immigrant Solidarity DuPage (Immigrant Solidarity)

are located in Illinois and work to “build immigrant and worker power” and “advance the dignity

of workers.” Id. ¶¶ 10, 11. Somos Un Pueblo Unidos (Somos) is a Santa Fe, New Mexico nonprofit

working to provide “education and legal support” to communities in New Mexico, including

immigrant communities. Id. ¶ 12. Inclusive Action for the City (IAC) provides low-interest loans

to entrepreneurs, including immigrants with ITINs. Id. ¶ 13. The plaintiffs seek to enjoin the IRS

from disclosing tax information to DHS pursuant to the agencies’ agreement. Pls.’ Mot. at 2.

II.    LEGAL STANDARDS

       A preliminary injunction is “an extraordinary remedy that may only be awarded upon a

clear showing that the plaintiff is entitled to such relief.” Sherley v. Sebelius, 644 F.3d 388, 392

(D.C. Cir. 2011) (quoting Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008)). To prevail,

a party seeking preliminary injunctive relief must make a “clear showing that four factors, taken

together, warrant relief: likely success on the merits, likely irreparable harm in the absence of

preliminary relief, a balance of the equities in its favor, and accord with the public interest.”

League of Women Voters v. Newby, 838 F.3d 1, 6 (D.C. Cir. 2016) (citations and internal quotation

marks omitted). Where a federal agency is the defendant, the last two factors merge. See Am.

Immigr. Council v. DHS, 470 F. Supp. 3d 32, 36 (D.D.C. 2020).

III.   ANALYSIS

       The Court’s analysis begins and ends with the likelihood of success on the merits. To

succeed on the merits, “[a] plaintiff must show a likelihood of success encompass[ing] not only




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substantive theories but also establishment of jurisdiction,” including standing to sue. Food &

Water Watch, Inc. v. Vilsack, 808 F.3d 905, 913 (D.C. Cir. 2015) (quoting Mills v. D.C., 571 F.3d

1304, 1308 (D.C. Cir. 2009)). “In the context of a preliminary injunction motion, [courts] require

the plaintiff to show a substantial likelihood of standing under the heightened standard for

evaluating a motion for summary judgment.” Elec. Priv. Info. Ctr. v. Presidential Advisory

Comm’n on Election Integrity, 878 F.3d 371, 377 (D.C. Cir. 2017) (cleaned up). The plaintiff

“bear[s] the burdens of production and persuasion.” Qualls v. Rumsfeld, 357 F. Supp. 2d 274, 281

(D.D.C. 2005) (citing Cobell v. Norton, 391 F.3d 251, 258 (D.C. Cir. 2004)). A plaintiff’s

“inability to establish a substantial likelihood of standing requires denial of the motion for

preliminary injunction.” Food & Water Watch, 808 F.3d at 913.

       A.      Standing

       To establish standing, a plaintiff must show: (1) an “injury in fact”; (2) a “causal connection

between the injury” and the challenged action; and (3) a likelihood that the “injury will be

redressed by a favorable decision.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992)

(internal quotation marks omitted). When an organization seeks to bring suit on behalf of its

members—that is, to assert associational standing—it must show that “(a) its members would

otherwise have standing to sue in their own right; (b) the interests it seeks to protect are germane

to the organization's purpose; and (c) neither the claim asserted nor the relief requested requires

the participation of individual members in the lawsuit.” Hunt v. Wa. State Apple Advert. Comm’n,

432 U.S. 333, 343 (1977). An organization’s members have standing to sue in their own right

when they can demonstrate that they would suffer an “injury in fact” that is “(a) concrete and

particularized” and “(b) actual or imminent, not conjectural or hypothetical.” Lujan, 504 U.S. at

560–61 (cleaned up).




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       Claims for declaratory or injunctive relief carry “a significantly more rigorous burden to

establish standing.” Swanson Grp. Mfg. LLC v. Jewell, 790 F.3d 235, 240 (D.C. Cir. 2015)

(internal quotation marks omitted).      That is because when “plaintiffs seek declaratory and

injunctive relief, past injuries alone are insufficient to establish standing.” Dearth v. Holder, 641

F.3d 499, 501 (D.C. Cir. 2011). Instead, a plaintiff must show an “ongoing injury” or “immediate

threat of injury.” Id.

       Three of the plaintiff organizations—Centro, Immigrant Solidarity, and Somos—assert

associational standing on behalf of their members. Rough Hr’g Tr. at 7. Because “a plaintiff must

demonstrate standing for each claim he seeks to press,” Davis v. FEC, 554 U.S. 724, 734 (2008),

the plaintiffs must establish that each alleged injury is imminent. The plaintiffs allege that their

members will be injured by (1) the IRS sharing address information with DHS, in violation of 26

U.S.C. § 6103; (2) DHS using the information for civil enforcement purposes; and (3) the IRS

disrupting settled reliance interests without due consideration. Pls.’ Mot. at 15, 17; Rough Hr’g

Tr. at 10. To assess whether the plaintiffs have standing, the Court will assume that the IRS’s

decision to share address information violates § 6103. Tanner-Brown v. Haaland, 105 F.4th 437,

444–45 (D.C. Cir. 2024) (assuming for the standing analysis the legal merits of plaintiffs’ alleged

injury). For the reasons that follow, all three plaintiffs have associational standing to challenge

whether the IRS acted arbitrarily and capriciously by entering into an information sharing

agreement with DHS, as reflected in the Memorandum, and Somos has standing to challenge the

lawfulness of the agreement.

               1.        IRS Disclosure of Information

       Unlike at the Temporary Restraining Order stage, Somos has established an imminent and

particularized risk of injury based on its claim that the IRS is poised to share information with




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DHS, in violation of 26 U.S.C. § 6103. The Court now has the benefit of the Memorandum which

explicitly authorizes the sharing of certain tax return information for criminal immigration

enforcement purposes. Memorandum § 1. Somos, an organization that represents the interests of

immigrants, has submitted a declaration attesting that its members have provided information to

the IRS and are currently subject to final removal orders, see, e.g., Diaz Decl. ¶ 9, Ex. G, Dkt. 28-

8. 1 This evidence establishes that the IRS and DHS intend to share taxpayer information and that

this information is likely be used against Somos’ members. This is a cognizable injury that is both

traceable to the IRS’s interpretation of § 6103 and redressable by a court decision prohibiting the

IRS from interpreting the statute in the manner that is contemplated by the IRS’s agreement with

DHS. And it is not necessary that Somos’ members participate in this lawsuit. Hunt, 432 U.S. at

343.   Accordingly, Somos has established associational standing to challenge the information-

sharing agreement, and the Court will reach the merits of its claim that the agreement is unlawful

under § 6103.

                2.     DHS Use of Information for Civil Immigration Enforcement Proceedings

       The plaintiffs next claim that IRS disclosures will be used to “facilitate the civil

enforcement of immigration laws,” in violation of § 6103. Pls.’ Mot. at 14 (emphasis added); Am.

Compl. ¶¶ 63, 65.      The Court agrees that requesting and receiving information for civil

enforcement purposes would constitute a cognizable injury, but none of the organizations have

established that such an injury is imminent. As the plaintiffs acknowledge, the Memorandum only

allows sharing information for criminal investigations and “the terms on the page [of the


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  By contrast, Centro and Immigrant Solidarity submitted declarations from members stating that
they had provided information to the IRS, but not that they were subject to final removal orders.
See Doe Decl. ¶ 5, Ex. I, Dkt. 28-10; Doe Decl. ¶¶ 3–6, Ex. J, Dkt. 28-11; Doe Decl. ¶ 5, Ex. H,
Dkt. 28-9. Thus, they have not established that any member is likely to be imminently subject to
the information-sharing agreement.



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Memorandum] do appear to comply with the requirements” of § 6103(i)(2). Rough Hr’g Tr. at 12.

Even so, they argue that it is not “plausible” that DHS has the resources to conduct individualized

criminal investigations on the large numbers of immigrants it seeks to remove from the United

States. Id. at 15. For support, they rely on a newspaper article that reports that DHS is seeking

location information for 700,000 or alternatively seven million, illegal immigrants, Pls.’ Mot. at

15; Reply at 5, Dkt. 32. Plaintiffs also point to Executive Order No. 14161, which directs agencies

to take “immediate steps to identify, exclude, or remove aliens illegally present in the United

States.” Memorandum, §1(a) (citing 90 Fed. Reg. 8451 (Jan. 20, 2025)).

       On this limited record, the Court cannot assume that DHS intends to use the shared

information to facilitate civil rather than criminal proceedings. Waite v. Macy, 246 U.S. 606, 609

(1918). The language of the Memorandum is clear: It authorizes the sharing of information related

to individuals who are “under criminal investigation for violations of one or more specifically

designed Federal criminal statutes,” Memorandum § 1(c), and it affirms that its specific purpose

is to assist DHS in criminal investigations and proceedings, id. § 3.             The government’s

representations at the hearing confirm this explicit understanding. Counsel for the government

unequivocally assured the Court that if the IRS received a request from DHS for information to

support a civil proceeding, the IRS would deny that request. See, e.g., Rough Hr’g Tr. at 58.

Counsel also confirmed that, should DHS decide to abort the criminal investigation and

exclusively pursue deportation, DHS would not be allowed to rely on the information from the

IRS and would have to return it. Id. at 61. At this stage, the plaintiffs have not established that it

is likely that IRS disclosures will be used to “facilitate the civil enforcement of immigration laws,”

Pls’ Mot. at 14, in violation of § 6103, and thus, they lack standing to raise this claim.




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               3.      Arbitrary and Capricious IRS Action

       The plaintiffs do, however, have standing to pursue their claim that the IRS acted arbitrarily

and capriciously in reversing its position on the sharing of tax information with DHS. The

plaintiffs offer declarations that their members relied on the IRS’s past assurances that tax

information would not be shared for immigration enforcement purposes. See, e.g., Doe Decl. ¶ 6,

Ex. H; Doe Decl ¶ 6, Ex. I. These individuals now fear that they will be harmed for relying on

those assurances and for filing their taxes as obligated. Ex. H ¶ 6; Ex. I ¶ 6–7. And if the IRS

reverses course without properly considering their reliance interests, as they allege, the plaintiffs’

members will suffer injury. This injury is both traceable to the IRS’s change in position and

redressable by a court order requiring the IRS to consider the plaintiff members’ reliance interest

before implementing the Memorandum. The Court therefore will proceed to the merits on the

claim that the defendants acted arbitrarily and capriciously by changing their policy to permit

information sharing between the IRS and DHS.

                                          *       *       *

       In sum, Centro, Immigrant Solidarity, and Somos have established standing to challenge

the agencies’ agreement to share information as arbitrary and capricious, and Somos alone has

established standing to challenge the agreement as in excess of the IRS’s statutory authority. The

Court need not determine at this early stage whether IAC also has organizational standing to bring

these claims. For the reasons stated above, all of the plaintiffs, including IAC, lack standing to

pursue their claim that the agencies will share information for civil enforcement purposes, in

violation of § 6103.




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       B.      Merits

       Turning to the merits, the plaintiffs argue that the information sharing agreement between

the IRS and DHS violates the Administrative Procedures Act in two ways—it is “not in accordance

with law” and was entered into “arbitrarily” and “capriciously.” 5 U.S.C. § 706(2)(A). 2 According

to the plaintiffs, § 6103(i)(2) does not allow the IRS to disclose only address information to DHS,

as the Memorandum provides. Pls.’ Mot. at 14; Pls.’ Suppl. Mem. at 3, Dkt. 48. The plaintiffs

further argue that the Memorandum is arbitrary and capricious because it constitutes a change in

policy and the agency failed to adequately consider the reliance interests of immigrant taxpayers

or provide a reasoned explanation. Pls.’ Mot. at 17–18.

       The Court disagrees. Section 6103 mandates that the IRS disclose address information to

DHS, if DHS complies with the statutory provision. Thus, the plaintiffs cannot show a likelihood

of success on the merits.

               1.       Accordance with Law

       The Court begins, as it must, with the statutory text. Under § 6103(i)(2), the IRS can share

limited tax return information with other agencies if the information may assist in criminal

enforcement proceedings or any “investigation which may result in such a proceeding.” 26 U.S.C.

§ 6103(i)(2)(A). To obtain information, the head of the federal agency conducting an investigation

must first submit a written request to the Secretary of the Treasury identifying

       “(i) the name and address of the taxpayer with respect to whom the requested return
       information relates; (ii) the taxable period or periods to which such return information
       relates; (iii) the statutory authority under which the proceeding or investigation … is being



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  The plaintiffs also raise non-statutory ultra vires claims. The Court need not address those
claims because “if the plaintiff’s claims would fail review under the APA,” then those claims
necessarily “could not succeed under” ultra vires review, which has an even “narrow[er]
scope[.]” Trudeau v. FTC, 456 F.3d 178, 190 (D.C. Cir. 2006).



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        conducted; and (iv) the specific reason or reasons why such disclosure is, or may be,
        relevant to such proceeding or investigation.”

Id. § 6103(i)(2)(B)(i)–(iv). If the request meets those requirements, the IRS must comply with it.

See § 6103(i)(2)(A) (providing that the Secretary “shall disclose” the requested information).

        Not all tax return information, however, can be disclosed under the statute. Section

6103(i)(2) exempts “taxpayer return information” from disclosure under this provision. Id. §

6103(i)(2)(A). And a related provision defines taxpayer return information as return information

filed “by or on behalf of the taxpayer to whom such return information relates.” Id. § 6103(b)(3).

In other words, the IRS can disclose information it obtains itself (such as through audits), but not

information it obtains exclusively from the taxpayer (such as a tax return filed by the taxpayer).

Despite this broad prohibition on the disclosure of taxpayer return information, § 6103(i)(2)(C)

allows one exception: “For purposes of this paragraph, a taxpayer’s identity shall not be treated as

taxpayer return information.” Id. § 6103(i)(2)(C). A taxpayer’s identity is further defined as the

taxpayer’s name, address, taxpayer identifying number, or some combination thereof. Id. §

6103(b)(6). To summarize, the IRS must disclose limited taxpayer identity information (e.g., the

taxpayer’s name and address) to assist another agency in criminal investigations and proceedings,

if the agency has satisfied the statutory prerequisites in its written request.

        The challenged Memorandum outlines the procedures that DHS and the IRS must follow

when the agencies share information under 26 U.S.C. § 6103(i)(2)(B). See Memorandum §§ 5–

6. The Memorandum explicitly states that the IRS must first determine whether DHS’s request

meets the statutory requirements necessary for disclosure, and it can provide information only if it

falls within an exception. Id. § 5(B) (requiring the IRS to “[r]eview each request for completeness

and validity and return to ICE any requests not meeting the requirements necessary for disclosure

pursuant to IRC § 6103(i)(2)”). The Memorandum also explains that its purpose is to establish


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procedures enabling “requests for addresses of persons subject to criminal investigation.” Id. § 3

(emphasis added).

        The plaintiffs concede that the statute requires the IRS to share certain return information

with DHS for the purposes of enforcing identified criminal statutes, if DHS submits a proper

request. Rough Tr. at 11; see 26 U.S.C. § 6103(i). Nonetheless, they contend that § 6103(i)(2)

does not allow the IRS to provide only address information in response to a DHS request. Pls.’

Mot. at 14; Rough Hr’g Tr. at 10. According to the plaintiffs, the provision authorizes the IRS to

disclose a taxpayer’s address only where other information relevant to a criminal investigation is

sought. Pls.’ Suppl. Mem. at 2.

        The plaintiffs’ reading of § 6103(i)(2) does not comport with the text of the statute. By its

plain language, the statute mandates that the IRS share a taxpayer’s name and address with another

agency, as long as its request for information is complete and valid and “meets the requirements

of [§ 6103(i)(2)(B)].” 26 U.S.C. § 6103(i)(2)(A). The Court cannot read additional restrictions

into the statute’s clear text.

        Resisting this conclusion, the plaintiffs rely on two internal IRS publications that

purportedly prohibit the IRS from releasing address information under this provision. See I.R.M.

11.3.28.5(4) (July 23, 2018) (“Requests for addresses only cannot be honored because IRC

6103(i)(2) requires that the requester provide an address.”) 3; IRS Publication No. 4639, Disclosure

& Privacy Law Reference Guide at 5-4 (Oct. 2012 ed.) (“Requests under section 6103(i)(2) seeking

only taxpayers’ addresses do not comply with the section.”). The meaning of this language is



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  Presently, the Internal Revenue Manual discusses address-only requests in a different sub-
section of the manual and uses different language than that cited by the plaintiffs. See I.R.M.
11.3.28.4(5) (Apr. 17, 2025) (“Requests for addresses only are invalid because IRC 6103(i)(2)
requires that the requester provide an address”).



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unclear. See Gov’t’s Reply at 7, Dkt. 49 (noting that the quoted statement from the Internal

Revenue Manual “may well anticipate another agency’s request that does not include the

taxpayer’s address as required by Section 6103(i)(2)(B)(i)” and the quoted statement from

Publication 4639 “may presume the requester did not provide the address as the statute requires”).

But even accepting the plaintiffs’ interpretation of these internal IRS manuals, they cannot

supplant the plain meaning of the statute. For one, the manuals do not have the force of law.

Marks v. Commissioner, 947 F.2d 983, 986 n.1 (D.C. Cir 1989); IRS Publication No. 4639, at iii

(“This guide was prepared for reference purposes only; it may not be used or cited as authority for

setting or sustaining a legal position.”). For another, the Court is not obligated to defer to the IRS’s

interpretation of the statute. See Loper Bright Enters. v. Raimundo, 603 U.S. 369, 400 (2024).

The Court instead must independently interpret the statute’s plain meaning. Id. As explained

above, the plain language of § 6103(i)(2) allows DHS to request address information as long as

DHS first provides the taxpayer’s name, address, and other requisite information in its written

request.

        The plaintiffs further argue that § 6103(i)(2) cannot be used to locate individuals because

another provision of the statute, § 6103(i)(5) (the “fugitive” provision), provides the only

mechanism for using tax records to locate individuals. Pls.’ Mot. at 14. Although a statute’s text

should be interpreted in the context of the whole statute, see Antonin Scalia & Bryan

Garner, Reading Law: The Interpretation of Legal Texts 167 (2012); Pls.’ Motion at 14,

§ 6103(i)(5) serves an entirely different purpose than § 6103(i)(2). It permits the Department of

Justice to obtain vastly more information from the IRS—a taxpayer’s tax return or taxpayer return

information—as opposed to just a taxpayer’s name and address. But to obtain such extensive tax

return information, the Department of Justice must first obtain a court order and a federal arrest




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warrant for the fugitive. Id. § 6103(i)(5)(B). That the fugitive provision authorizes the IRS to

release more extensive tax return information to the Department of Justice (assuming it meets the

more onerous prerequisites in § 6103(i)(5)(B)) does not preclude the IRS from releasing a

taxpayer’s name and address to an agency (assuming it satisfies the much less demanding

procedure set forth in § 6103(i)(2)). These two statutory provisions establish separate information

sharing mechanisms for different but potentially overlapping purposes.

        The plaintiffs also invoke historical context—including earlier versions of the statute,

legislative history, and other internal Treasury memoranda, to support their narrow interpretation

of § 6103(i)(2). See generally Pls.’ Suppl. Mem. at 1–7. But as explained, supra at 12, internal

memoranda cannot override the plain meaning of the statute. And “when a statute's language is

plain on its face, courts do not ordinarily resort to legislative history.” Pub. Citizen, Inc. v. Rubber

Mfrs. Ass’n, 533 F.3d 810, 818 (D.C. Cir. 2008) (internal quotation marks omitted). For the

reasons stated, the text of § 6103(i)(2) is clear—the provision plainly exempts taxpayer address

information from the general prohibition on sharing taxpayer return information and requires that

information to be disclosed upon a valid written request. As long as the agency has a name and

an address for a taxpayer, it can request address and name information from the IRS to assist the

requesting agency in a criminal investigation or proceeding, and the IRS must comply.

        Although the plaintiffs do not argue that the government’s interpretation of § 6103(i)(2) is

absurd, Mova Pharm. Corp. v. Shalala, 140 F.3d 1060, 1068 (D.C. Cir. 1998) (quoting Holy Trinity

Church v. United States, 143 U.S. 457, 459–60 (1892)), they question its reasonableness. Rough

Hr’g Tr. at 22–24. As they argued at the hearing, there would be no reason for an agency to request

a taxpayer’s address information from the IRS if the agency already had it. Id.             But as the

government explained, there are a number of reasons why such information could be helpful to




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DHS. For instance, if DHS is investigating an immigrant for remaining 90 days past a final

removal order, a recent address could confirm that the immigrant did in fact overstay the order.

See Rough Hr’g Tr. at 59; see also 8 U.S.C. § 1253(a)(1). An address could also confirm that an

individual re-entered the U.S. Id. at 54, 60. And if a final removal order was issued in absentia,

DHS might send a notice letter to ensure that the immigrants was aware of the order. See 8 U.S.C.

§ 1253(a)(1).

       Putting aside the reasonableness of the agency’s current interpretation of the statute, the

Court’s duty is to exercise independent judgment in determining its meaning. See Loper Bright,

603 U.S. at 400. Under the statute, the IRS must comply with an agency’s request for information

so long as the agency has complied with the statutory prerequisites. Thus, even in the absence of

the information sharing memorandum between the IRS and DHS, the IRS would be statutorily

required to release requested information if DHS met the requirements of § 6103(i)(2). Because

the information sharing agreement is consistent with § 6103(i)(2), the plaintiffs cannot establish

success on the merits of their APA challenge.

                2.    Arbitrary or Capricious

       The plaintiffs further claim that IRS acted arbitrarily and capriciously by changing its

position on whether it can lawfully provide address information to DHS without considering the

immigrant taxpayers’ reliance interests. Am. Compl. ¶ 69. In support, the plaintiffs again rely on

IRS guidance publications, IRM 11.3.28.5 and IRS Publication No. 4639, and similar public

assurances in which the IRS stated that it lacked “authorization under this provision to share tax

data with ICE.” Pls.’ Mot. at 13 (citing Maria Sacchetti, Undocumented and Paying Taxes, They

Seek a Foothold in the American Dream, Wash. Post. (Mar. 11, 2017), https://perma.cc/QU33-

EYWM).




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       As noted, however, the IRS guidance documents can be read another way. See supra 11-

12. On the government’s reading, these internal memoranda do not categorically bar the IRS from

sharing information with another agency so long as the agency first provides a taxpayer’s name

and address and satisfies the other statutory requirements, 26 U.S.C. § 6103(i)(2); Rough Hr’g Tr.

at 47–48. The IRS’s public statements similarly affirm that taxpayer information must be kept

confidential and can only be disclosed under particular statutory conditions. 4         Under this

interpretation, the IRS has not reversed course.

       But even assuming that the IRS has changed its position, this type of policy change is not

actionable under the APA because the cited IRS manuals do not create binding rules. See 5 U.S.C.

§ 553(b)(A); Syncor Int’l Corp. v. Shalala, 127 F.3d 90, 93 (D.C. Cir. 1997). They are instead

nonbinding policy statements that set out a procedure for information requests. Id. This is

especially true here because § 6103(i)(2) does not give the IRS the discretion to turn down a lawful

request for information. As the Court has found, § 6103(i)(2) allows DHS to obtain address

information from the IRS, as long it first provides the IRS with the taxpayer’s name and an address

and satisfies the other statutory criteria. In such circumstances, the agency “shall disclose return

information,” 26 U.S.C. § 6103(i)(2)(A) (emphasis added), i.e., name and address information, id.

§ 6103(i)(2)(C), to the agency. Any substantive change under the challenged Memorandum thus

stems not from the IRS’s change in position but from the Administration’s decision to use certain

statutorily authorized tools to further criminal investigations. Because the plaintiffs have not

established that the Memorandum constitutes a reviewable change in agency action under the



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  The plaintiffs rely on a newspaper article quoting a statement from the IRS, Sacchetti,
Undocumented and Paying Taxes, They Seek a Foothold in the American Dream, Wash. Post.
(Mar. 11, 2017), but neither party has been able to locate or provide the underlying IRS report that
the article references, see Rough Tr. at 46.



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APA, they have not shown a substantial likelihood of success on their claim that the IRS acted

arbitrarily and capriciously by reaching an agreement with DHS.

                                         *       *          *

       At its core, this case presents a narrow legal issue: Does the Memorandum of

Understanding between the IRS and DHS violate the Internal Revenue Code? It does not. The

plain language of 26 U.S.C. § 6103(i)(2) mandates disclosure under the specific circumstances and

preconditions outlined in the Memorandum. For this reason, the plaintiffs have failed to show they

are likely to succeed on their claims. Accordingly, it is

       ORDERED that the plaintiffs’ Motion for Preliminary Injunction, Dkt. 28, is DENIED.




                                                                ________________________
                                                                DABNEY L. FRIEDRICH
                                                                United States District Judge
May 12, 2025




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